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                       EXHIBIT A

                     Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
In re:                                                              ) Chapter 11
                                                                    )
ENERGY FUTURE HOLDINGS CORP., et al.,1                              ) Case No. 14-10979 (CSS)
                                                                    )
                           Debtors.                                 ) (Jointly Administered)
                                                                    )

                   ORDER AUTHORIZING LUMINANT
                  GENERATION COMPANY LLC TO FILE
           UNDER SEAL THE JOINT VENTURE AGREEMENTS AND
    AMENDMENTS RELATED TO PROPOSED DEBTOR-IN-POSSESSION FINANCING


         Upon the motion (the “Motion”)2 of the Joint Venture Debtors for entry of an order (this

“Order”), (a) authorizing the Joint Venture Debtors to file under seal redacted portions of the

Amendments among the Joint Venture Parties regarding the Comanche Peak Joint Venture,

copies of which are attached as Exhibit 1 of Exhibit B to the Joint Venture Motion, filed

contemporaneously herewith; and (b) directing that the redacted portions of the Amendments

shall remain under seal and confidential and not be made available to anyone without the consent

of the Joint Venture Debtors and MHI except to (i) the Court, (ii) U.S. Trustee on a confidential

basis, and (iii) the advisors to any statutory committee appointed in the Joint Venture Debtors’

chapter 11 cases on a confidential and a “professionals’ eyes only” basis; and upon the First Day

Declaration; and the Court having found that it has jurisdiction over this matter pursuant to



1
     The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
     debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
     chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
     digits of their federal tax identification numbers is not provided herein. A complete list of such information
     may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
2
     Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion, as applicable.
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28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and the Court having found that venue of this case and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and the Court having found that the Debtors provided appropriate notice

of the Motion and the opportunity for a hearing on the Motion under the circumstances; and the

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing, if any, before the Court (the “Hearing”); and the Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The Joint Venture Debtors are authorized to file the redacted portions of the

Amendments under seal pursuant to sections 105(a) and 107(b) of the Bankruptcy Code,

Bankruptcy Rule 9018, and Local Bankruptcy Rule 9018-1.

       3.      The redacted portions of the Amendments are confidential, shall remain under

seal, and shall not be made available to anyone without the consent of the Joint Venture Debtors

and MHI, except that unredacted copies of the Amendments shall be provided to (i) the Court,

(ii) the U.S. Trustee on a confidential basis, and (iii) the advisors to any statutory committee

appointed in the Joint Venture Debtors’ chapter 11 case on a confidential and “professionals’

eyes only” basis.

       4.      Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of the Local Bankruptcy Rules are satisfied by such notice.



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       5.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       6.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       7.      This Order is without prejudice to the rights of any party in interest to seek to

declassify and make public any portion of the material filed under seal.

       8.      The Joint Venture Debtors are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Motion.

       9.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Wilmington, Delaware
Dated: ____________, 2014

                                                  HONORABLE CHRISTOPHER S. SONTCHI
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                3
